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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

JAMES FICKEN, trustee, SUNCOAST
FIRST TRUST, and SUNCOAST FIRST
TRUST,

       Plaintiffs,

v.                                                                Case No: 8:19-cv-1210-T-36SPF

CITY OF DUNEDIN, FLORIDA, et al.,

      Defendants.
___________________________________/

                                            ORDER

       This cause comes before the Court sua sponte. On April 10, 2020, the parties filed their

motions for summary judgment, (Docs. 42, 43), to which responses were filed on April 24, 2020,

(Docs. 49, 51). The Case Management and Scheduling Order provides, “On or before the date on

which the memorandum in opposition [to a motion for summary judgment] is due, the parties

SHALL also file a stipulation of agreed material facts signed by the movant and the parties

opposing summary judgment pursuant to Local Rule 4.15.” (Doc. 17 at 7) (emphasis in original).

These stipulated material facts are deemed admitted for purposes of the motion for summary

judgment. Id. However, the parties have failed to file any stipulation of agreed material facts.

       Accordingly, it is ORDERED:

       1. The parties shall file a stipulation of agreed material facts within FOURTEEN (14)

           DAYS from the date of this Order.
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       DONE AND ORDERED in Tampa, Florida on July 17, 2020.




Copies to:
Counsel of Record and Unrepresented Parties, if any




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